      Case 1:18-cv-00199-LMG Document 168          Filed 09/08/22   Page 1 of 33




                                     Slip Op. 22-104

                  UNITED STATES COURT OF INTERNATIONAL TRADE


VANDEWATER INTERNATIONAL INC.,

                        Plaintiff,

             and

SIGMA CORPORATION, and
SMITH-COOPER INTERNATIONAL, INC.,

                        Plaintiff-Intervenors,         Before: Leo M. Gordon, Judge

             v.                                         Court No. 18-00199
UNITED STATES,


                        Defendant,
             and

ISLAND INDUSTRIES,

                        Defendant-Intervenor.


                                        OPINION

[Sustaining Commerce’s Remand Results.]

                                                             Dated: September 8, 2022

      Richard P. Ferrin, D. Alicia Hickok, and Douglas J. Heffner, Faegre Drinker Biddle
& Reath, LLP of Washington, D.C., for Plaintiff Vandewater International, Inc.

       Lucius B. Lau, Walter Spak, and Ron Kendler, White & Case LLP of Washington,
D.C., for Plaintiff-Intervenor SIGMA Corporation.

       Gregory S. McCue and Zachary Simmons, Steptoe & Johnson LLP of Washington,
D.C., for Plaintiff-Intervenor Smith-Cooper International, Inc.

    Joshua E. Kurland, Trial Attorney, U.S. Department of Justice, Civil Division,
Commercial Litigation Branch, Washington, D.C., for Defendant United States. With him
         Case 1:18-cv-00199-LMG Document 168          Filed 09/08/22    Page 2 of 33




Court No. 18-00199                                                                 Page 2


on the brief were Brian M. Boynton, Principal Deputy Assistant Attorney General,
Patricia M. McCarthy, Director, and L. Misha Preheim, Assistant Director. Of counsel was
Saad Y. Chalchal, Senior Attorney, Office of the Chief Counsel for Trade Enforcement &
Compliance, U.S. Department of Commerce of Washington, D.C.

      Matthew J. McConkey, Mayer Brown LLP of Washington, D.C., for
Defendant-Intervenor Island Industries.
      Gordon, Judge: This action involves the scope of the antidumping duty order on

Carbon Steel Butt-Weld Pipe Fittings (“BWPFs”) from the People’s Republic of China that

covers:

              carbon steel butt-weld pipe fittings, having an inside diameter
              of less than 14 inches, imported in either finished or unfinished
              form. These formed or forged pipe fittings are used to join
              sections in piping systems where conditions require
              permanent, welded connections, as distinguished from fittings
              based on other fastening methods (e.g., threaded, grooved,
              or bolted fittings). Carbon steel butt-weld pipe fittings are
              currently classified under subheading 7307.93.30 of the
              Harmonized Tariff Schedule (HTS). Although the HTS
              subheading is provided for convenience and customs
              purposes, our written description of the scope of the order is
              dispositive.

Certain Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China,

57 Fed. Reg. 29,702 (Dep’t of Commerce July 6, 1992) (“China BWPFs Order”). Plaintiff

Vandewater International Inc. (“Vandewater”) sought a scope ruling from the

U.S. Department of Commerce (“Commerce”) as to whether its products, steel branch

outlets used to join sections in fire sprinkler systems, were covered by the China BWPFs

Order.     Commerce determined that these products were within the scope of the

China BWPFs Order.       See Carbon Steel Butt-Weld Pipe Fittings from the People’s

Republic of China, ECF No. 25-4 (Dep’t of Commerce Sept. 10, 2018) (final scope ruling

on Vandewater’s steel branch outlets) (“Final Scope Ruling”). Plaintiff-Intervenors SIGMA
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 3 of 33




Court No. 18-00199                                                                 Page 3


Corporation (“SIGMA”) and Smith-Cooper International, Inc. (“SCI”) similarly sought

scope rulings from Commerce excluding their respective outlet products from the China

BWPFs Order. And, as with Vandewater, Commerce determined that SIGMA and SCI’s

outlet products were covered by the China BWPFs Order. See Carbon Steel Butt-Weld

Pipe Fittings from the People’s Republic of China, Court No. 19-00003, ECF No. 29-4

(Dep’t of Commerce Dec. 11, 2018) (final scope ruling on SIGMA’s fire-protection weld

outlets); Carbon Steel Butt-Weld Pipe Fittings from the People’s Republic of China, Court

No. 19-00011, ECF No. 29-4 (Dep’t of Commerce Dec. 10, 2018) (final scope ruling on

SCI’s cooplet weld outlets).       Plaintiffs collectively now challenge Commerce’s

determinations that their respective outlet products fall under the scope of the China

BWPFs Order. 1

      The court presumes familiarity with the history of this action. See Vandewater Int’l,

Inc. v. United States, 44 CIT ___, 476 F. Supp. 3d 1357 (2020) (“Vandewater I”).

In Vandewater I, the court held that “Commerce unreasonably concluded that the sources

in 19 C.F.R. § 351.225(k)(1) were dispositive on the inclusion of Plaintiff’s steel branch

outlets within the Order,” and remanded the matter to Commerce “to conduct a full scope

inquiry and evaluate the factors under 19 C.F.R. § 351.225(k)(2).” Vandewater I, 44 CIT

at ___, 476 F. Supp. 3d at 1359.




1
    Plaintiffs all commenced their own individual actions—Vandewater (Court
No. 18-00199); SIGMA (Court No. 19-00003); and SCI (Court No. 19-00011). Because
each action had its own administrative record, the court did not consolidate the three
actions. However, for litigation efficiency, the court permitted SIGMA and SCI to intervene
in this action and brief the merits.
       Case 1:18-cv-00199-LMG Document 168              Filed 09/08/22    Page 4 of 33




Court No. 18-00199                                                                      Page 4


       Before the court are Commerce’s Final Results of Redetermination Pursuant

to Court Remand, ECF No. 112 (“Remand Results”), filed pursuant to Vandewater I.

On remand, Commerce “continue[d] to find that Vandewater’s outlets are within the scope

of the China BWPFs Order pursuant to an analysis under the (k)(2) criteria.” See Remand

Results at 2. Plaintiffs challenge that determination. See Comments of Vandewater in

Opp’n to Commerce’s Remand Redetermination, ECF No. 133 (“Vandewater

Comments”); SIGMA’s Comments in Opp’n to Remand Results, ECF No. 132 (“SIGMA

Comments”); Comments of SCI in Opp’n to Commerce’s Remand Redetermination, ECF

No. 134 (“SCI Comments”); see also Defendant’s Response to Comments on the

Remand Results, ECF No. 144 (“Def.’s Resp.”); Defendant-Intervenor’s Response to

Comments on the Remand Results, ECF No. 146.                   SCI’s comments focused on

challenging as unlawful Commerce’s determination that it would “continue” to suspend

liquidation of Plaintiffs’ entries that pre-date the initiation of the underlying scope inquiry.

See    SCI    Comments      at   2–14.       The    court   has    jurisdiction   pursuant   to

Section 516A(a)(2)(B)(vi) of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1516a(a)(2)(B)(vi) 2, and 28 U.S.C. § 1581(c) (2018). For the reasons set forth below,

the court sustains Commerce’s analysis and scope determination in the Remand Results.

                                   I. Standard of Review

       The court sustains Commerce’s “determinations, findings, or conclusions” unless

they are “unsupported by substantial evidence on the record, or otherwise not in



2
 Further citations to the Tariff Act of 1930, as amended, are to the relevant provisions of
Title 19 of the U.S. Code, 2018 edition.
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 5 of 33




Court No. 18-00199                                                                Page 5


accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). More specifically, when reviewing

agency determinations, findings, or conclusions for substantial evidence, the court

assesses whether the agency action is reasonable given the record as a whole.

Nippon Steel Corp. v. United States, 458 F.3d 1345, 1350–51 (Fed. Cir. 2006); see also

Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951) (“The substantiality of

evidence must take into account whatever in the record fairly detracts from its weight.”).

Substantial evidence has been described as “such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion.” DuPont Teijin Films USA v.

United States, 407 F.3d 1211, 1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. v.

NLRB, 305 U.S. 197, 229 (1938)). Substantial evidence has also been described as

“something less than the weight of the evidence, and the possibility of drawing two

inconsistent conclusions from the evidence does not prevent an administrative agency’s

finding from being supported by substantial evidence.” Consolo v. Fed. Mar. Comm’n,

383 U.S. 607, 620, (1966).

      Fundamentally, though, “substantial evidence” is best understood as a word

formula connoting reasonableness review. 3 Charles H. Koch, Jr., Administrative Law

and Practice § 9.24[1] (3d ed. 2022). Therefore, when addressing a substantial evidence

issue raised by a party, the court analyzes whether the challenged agency action

“was reasonable given the circumstances presented by the whole record.” 8A West’s

Fed. Forms, National Courts § 3.6 (5th ed. 2022).
       Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22   Page 6 of 33




Court No. 18-00199                                                                  Page 6


                                      II. Discussion

                        A. Framework of 19 C.F.R. § 351.225(k)

       Scope proceedings are governed by 19 C.F.R. § 351.225. Commerce may self-

initiate a scope proceeding, see § 351.225(b), or an interested party may submit a request

for a scope ruling, see § 351.225(d). In determining whether a product is covered by the

scope of an order, Commerce will consider the “language of the scope and may make its

determination on this basis alone if the language of the scope, including the descriptions

of the merchandise expressly excluded from the scope, is dispositive.”           19 C.F.R.

§ 351.225(k)(1). Additionally, Commerce may consider the following interpretive sources

in making its determination—the descriptions of the merchandise contained in the petition

pertaining to the subject order, the initial investigation, and Commerce’s prior or

concurrent determinations, including prior scope determinations pertaining to the subject

order, and other orders with similar language, and determinations of the U.S. International

Trade Commission (“ITC”) regarding the subject order. § 351.225(k)(1)(i). If the (k)(1)

sources are not dispositive, then Commerce is to conduct a full scope inquiry and consider

the additional criteria in § 351.225(k)(2)—namely, (1) the product’s physical

characteristics, (2) ultimate purchasers’ expectations, (3) the ultimate use of the product,

(4) trade channels in which the product is sold, and (5) the manner in which the product

is advertised and displayed. § 351.225(k)(2). At the conclusion of its scope inquiry,

Commerce will issue a final scope ruling. § 351.225(h). As noted previously, the court,

in Vandewater I, rejected Commerce’s determination that the (k)(1) sources were
        Case 1:18-cv-00199-LMG Document 168               Filed 09/08/22   Page 7 of 33




Court No. 18-00199                                                                    Page 7


dispositive, and directed Commerce to conduct a full scope inquiry and evaluate the

additional criteria provided under § 351.225(k)(2). See Remand Results at 9–10.

               B. Commerce’s Analysis Under 19 C.F.R. § 351.225(k)(2)

        After evaluating the (k)(2) criteria, Commerce determined that Vandewater’s steel

branch outlets are sufficiently similar to unambiguous examples of subject merchandise

and that the record supported the determination that Vandewater’s products fell within the

China BWPFs Order. See Remand Results at 45–96. Specifically, Commerce found

that:

               (i) steel branch outlets possess physical characteristics that are

        similar to other subject merchandise because they are formed or forged,

        made of carbon steel, have a diameter of less than 14 inches, and are

        designed to have at least one end with a beveled edge for permanent

        attachment to a pipe or fitting (id. at 45–54);

               (ii) the expectations of ultimate purchasers of steel branch outlets

        and other subject merchandise are similar because they expect both to be

        welded into permanent, fixed piping systems for gases or liquids, and fire

        sprinkler systems are a contemplated application for subject merchandise

        (id. at 54–57);

               (iii) the ultimate uses of steel branch outlets and other subject

        merchandise are similar because both are permanently welded to piping

        systems to change or divide the flow of liquids, e.g., redirecting water in an

        automatic fire sprinkler system (id. at 58–60);
         Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22     Page 8 of 33




Court No. 18-00199                                                                    Page 8


                (iv) steel branch outlets and other subject merchandise are sold in

         similar channels of trade because they are both sold through distributors

         and to fabricators and contractors (id. at 60); and

                (v) steel branch outlets and other subject merchandise are similarly

         advertised and displayed in online catalogs (id. at 60–62).

Plaintiffs challenge Commerce’s findings on each of the (k)(2) criteria as unreasonable.

See Vandewater Comments; SIGMA Comments; SCI Comments.

                                1. Physical Characteristics

         Commerce found that “the physical characteristics of outlets and BWPFs subject

to the China BWPFs Order are similar.” Remand Results at 45. Specifically, Commerce

concluded that the scope language in the China BWPFs Order “indicates that subject

merchandise must be formed or forged, made of carbon steel, and have a diameter of

less than 14 inches.” Id. Commerce further found that “to be an in-scope ‘butt-weld pipe

fitting,’ the merchandise must be designed to have at least one end with a beveled edge,

whether contoured or not, for permanent attachment to at least one pipe or fitting and

may have a temporary connection on another end.” Id. Based on the record, Commerce

determined that Vandewater’s outlets meet these criteria.              Id. at 46 (“the record

demonstrates that Vandewater’s outlets are consistent with BWPFs in terms of

manufacturing method (i.e., formed/forged), material (i.e., carbon steel forged steel bars

or welded pipe), and size requirements (i.e., less than 14 inches in inside diameter). Like

all BWPFs, the outlets feature a beveled edge for permanent attachment to a pipe or

fitting.”)).
       Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22    Page 9 of 33




Court No. 18-00199                                                                     Page 9


       Plaintiffs argue that the physical characteristics of subject BWPFs are distinct from

Vandewater’s outlets. Plaintiffs focus much of their argument, both in the proceeding

below and in this action, on the differences between the physical characteristics of their

outlets and the subject BWPFs, as this prong of the (k)(2) analysis is critical. See

19 C.F.R. § 351.225(k)(2)(ii) (providing that “[i]n the event of a conflict between the factors

under paragraph (k)(2)(i) of this section, [the physical characteristics factor] will normally

be allotted greater weight than the other factors”).

                                a. End-to-End Connection

       Plaintiffs first contend that a “butt weld is—by definition—an end-to-end welded

connection,” and maintain that Commerce cannot reasonably defend its finding that

“contoured edges that connect to the midsection of a pipe [constitute] butt-weld pipe

fittings.” See Vandewater Comments at 3, 11. Plaintiffs further maintain that Commerce

disregarded evidence supporting the conclusion that a BWPF is “intended to be an

end-to-end connection.” See id. at 9–11. They emphasize that information in the Petition,

as well as the ITC’s 2016 Sunset Review of the China BWPFs Order, supports their

position. Id.; see also Vandewater I, 44 CIT at ___, 476 F. Supp. 3d at 1362 (agreeing

with Plaintiffs that product descriptions of covered merchandise from 2016 ITC Sunset

Review and Petition, particularly as to “beveling on both parts of the assembled piping,”

did not reasonably support Commerce’s conclusion that (k)(1) sources dispositively

demonstrated that steel branch outlets are covered by China BWPFs Order). With

respect to the product catalogs and specification sheets relied on by Commerce, Plaintiffs

argue that this “out-of-context” information cannot serve as a reasonable basis for
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 10 of 33




Court No. 18-00199                                                                Page 10


Commerce’s conclusion that BWPFs do not require end-to-end connections. Id. at 11–15.

Plaintiffs stress that various distinctions in the wording and description of outlets as

compared to BWPFs demonstrate that the sources relied upon by Commerce cannot

reasonably provide a “sufficient basis for determining the meaning of a ‘butt-welded’ pipe

fitting, as found within the scope.” Id. at 12.

       Plaintiffs also dispute Commerce’s reading of the term “butt-weld” in those

sources, maintaining that off-hand references to the term “butt-weld” is not indicative of

industry recognition that outlets are BWPFs that would fall under the scope of the China

BWPFs Order. Id. at 12–14. Ultimately, Plaintiffs ask the court to hold that Commerce

erred in determining the meaning of “butt-weld” (i.e., that BWPF may have a “contoured

edge that connects [the product] to the midsection of the header or run pipe”) on the basis

of an inference from the use of that term in product catalogs and specification sheets

found in the record. Instead, Plaintiffs would have Commerce determine that a BWPF

may only involve an “end-to-end connection” on the basis of a reasonable inference from

other information on the record, including the offered opinion of an expert submitted by

Vandewater and the findings by the ITC in its 2016 Sunset Review. Id.

       In rejecting Plaintiffs’ arguments, Commerce found that “the record evidence

establishes that products with a contoured edge that are designed to connect to the

mid-section of a pipe can be BWPFs.” Remand Results at 47. Specifically, Commerce

found that “[i]n its product specification sheets, Aleum USA, a U.S.-based distributor of

outlets, describes its female threaded outlet and grooved outlet as having “[b]utt welding

ends.” Id. (further noting that “[l]ike Vandewater’s outlets, Aleum USA’s outlets have one
      Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22    Page 11 of 33




Court No. 18-00199                                                                   Page 11


threaded or grooved end and a contoured edge on the other end that is connected to the

middle of another pipe.”). Commerce also highlighted that “[t]he exhibits accompanying

the Petition included a product catalog from a U.S. producer of the domestic like product

with illustrations of basic shapes of BWPFs (under the heading ‘seamless welded fittings’)

and among them is a product that is referred to as a saddle, which, like Vandewater’s

outlets, has a contoured edge and is connected to the midsection of a pipe.” Id. (adding

that “the current version of the same U.S. producer’s product catalog continues to include

saddles as a type of ‘seamless welded fitting,’ and the product is displayed side-by-side

with a full range of other BWPFs” and that “the product catalog for a major U.S. distributor

of pipes and fittings also includes a saddle as one of the various ‘standard butt weld fitting

types.’”). Consequently, Commerce determined that “the contoured edge that connects

Vandewater’s outlets to the midsection of the header or run pipe is not a physical

characteristic that distinguishes the outlets from BWPFs that are subject to the scope of

the China BWPFs Order, such as saddles.” Id. at 48. Given the record, the court cannot

agree with Plaintiffs that Commerce’s determination here was unreasonable.

       Plaintiffs further contend that Commerce failed to appreciate the importance of the

angle of the beveled edges in analyzing the physical characteristics of subject outlets and

BWPFs. See Vandewater Comments at 11 (arguing that BWPFs are required to have

end-to-end connections that “impact[ ] the very shape of the fitting itself, requiring ends

that are beveled at a 37.5 degree angle”). To the contrary, Commerce found that the

China BWPFs Order contains no specifications as to any particular bevel angle for subject

BWPFs. Remand Results at 48.
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 12 of 33




Court No. 18-00199                                                                 Page 12


       Plaintiffs now argue that Commerce’s reasoning is “detached from reality and the

record evidence.” Vandewater Comments at 11. The court disagrees. While Commerce

agreed that the “Petition and prior ITC determinations state that the beveled edges of

BWPFs distinguish BWPFs from other pipe fittings,” Commerce highlighted that “none of

these sources indicate that the edge must be beveled at a particular angle for the fitting

to be considered a BWPF.” Remand Results at 48. Commerce explained that adopting

Plaintiffs’ suggestion that a BWPF requires a specific bevel angle for proper installation

would result in an “end-use requirement for subject merchandise” that would

inappropriately be based on the “physical characteristics of the recipient pipe, rather than

on the physical characteristics of the outlets in question.” Id. at 49. Since Plaintiffs

ultimately fail to demonstrate that Commerce’s determination is unreasonable, the court

rejects their arguments that Commerce did not reasonably account for the importance of

the bevel angle in analyzing the subject outlets and BWPFs.

                         b. Forged Steel Fittings Comparison

       Plaintiffs further maintain that Commerce’s finding that a BWPF need not have an

end-to-end connection is unreasonable in light of Commerce’s finding in a prior

proceeding that “butt weld fittings can only have butt welded end connections.” See

Vandewater Comments at 15–16 (quoting final scope decision memorandum from

investigations of Forged Steel Fittings from China, Italy, and Taiwan, PR 3 21 at Tab 8

(Dep’t of Commerce July 13, 2018)). As Commerce explained, to qualify as “butt weld



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  “PR ___” refers to a document contained in the public administrative record, which is
found in ECF No. 131-1 unless otherwise noted.
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 13 of 33




Court No. 18-00199                                                                 Page 13


outlets” or “butt weld fittings” that would be excluded from the scope of the Forged Steel

Fittings investigations, “butt weld outlets must be butt welded at both end connections to

be excluded from the scope of the investigations.” Id. at 15 (further quoting with emphasis

Commerce’s statement that “[o]utlets with a socket-weld or threaded end connection, or

with only one butt weld end connection, are not considered a butt weld fitting and,

therefore, are not excluded from the scope of the investigations”). Plaintiffs maintain that

Commerce’s “detailed discussion” of the nature of butt weld fittings in that prior scope

memorandum “should be the end of the matter” as “Vandewater’s grooved and threaded

welded outlets are not butt-weld pipe fittings because their end connections on the run

side are grooved or welded, not butt-weld end connections.” Id. at 16.

       Plaintiffs’ argument falls short, however, because the scope exclusion guidelines

Commerce determined in the Forged Steel Fittings investigation do not neatly correspond

to the scope of products covered under the China BWPFs Order. See Remand Results

at 85 n.539 (noting that “construction of an exclusion in a separate proceeding is not

determinative here” and further finding “that Vandewater’s outlets do, in fact, feature a

butt-welded connection to the run pipe.”). As Plaintiffs acknowledge, Commerce found

that products such as caps and lap joint stub ends, which would not meet the narrow

definition of BWPFs under the Forged Steel Fittings exclusion guidelines, nevertheless

are plainly within the scope of the China BWPFs Order. See Vandewater Comments

at 16–17.

       Plaintiffs argue that Commerce may not differ in defining what constitutes BWPFs

in its Forged Steel Fittings analysis versus the (k)(2) analysis here. However, that
      Case 1:18-cv-00199-LMG Document 168               Filed 09/08/22   Page 14 of 33




Court No. 18-00199                                                                 Page 14


argument ignores the different purposes and records undergirding the two analyses.

As Commerce noted, accepting Plaintiffs’ narrow definition of BWPFs and strictly abiding

by the Forged Steel Fittings analysis would require it to ignore the product catalogs on

the record that plainly support the finding that there is broader understanding of the term

“butt-weld” and BWPFs intended to be covered by the China BWPFs Order. See Remand

Results at 85. Accordingly, Commerce’s analysis of butt weld fittings in the Forged Steel

Fittings investigations does not control here, nor did Commerce act unreasonably in

determining a broader definition for BWPFs in this matter than was used to determine

scope exclusions in the Forged Steel Fittings investigations.

                                 c. Product Comparisons

       Much of the parties’ disagreement about physical characteristics stems from

Commerce’s comparison of the subject outlets to other products described in the record

that appear to be covered as BWPFs by the China BWPFs Order, including caps, lap joint

stub ends, and saddles. See Remand Results at 83–89 (“We also find that outlets have

a variety of characteristics in common with other common BWPFs, such as having one

butt-welded end (similar to caps and lap joint stub ends) and also attach to a header pipe

via a butt-weld (similar to saddles).”). Though Plaintiffs maintain that various physical

characteristics of outlets make them unique from BWPFs, Commerce addressed each

potentially distinguishable physical characteristic raised and found that other products

covered by the China BWPFs Order also had the physical characteristics that Plaintiffs

claimed were exclusive to outlets and not found in BWPFs. Commerce explained why it

rejected Plaintiffs’ preferred findings, noting that:
      Case 1:18-cv-00199-LMG Document 168              Filed 09/08/22    Page 15 of 33




Court No. 18-00199                                                                   Page 15


              this line of argument, downplaying the similarity between
              outlets and caps, for instance, reflects a broader flaw in the
              importers’ arguments throughout their comments – they
              continue to attempt to artificially narrow the scope of the China
              BWPFs Order by pointing to subsets of subject merchandise
              (or subsets of uses/expectation, as discussed below) in their
              analysis. This is incorrect. In our (k)(2) analysis, we must
              assess physical similarities between outlets and other
              in-scope merchandise; this includes cap, lap joint stub ends,
              elbows, and the variety of fittings that fall within the greater
              heading of BWPFs.

Remand Results at 88.

       In their remand comments, Plaintiffs continue to attempt to distinguish subject

outlets from caps, lap joint stub ends, saddles, and other similar products considered to

be BWPFs based on their physical characteristics, see Vandewater Comments at 16–17,

while maintaining that Commerce erred in assuming saddles to be BWPFs. Id. at 17–18

(“While it is dispositive that Vandewater’s threaded and grooved outlets have zero

connections capable of being butt welded, it merits emphasis that a saddle is not a

butt-weld pipe fitting.”). 4 In arguing that saddles are not a type of BWPF, Vandewater

focuses on the distinct “function” of saddles from other BWPFs. In so doing, Vandewater

fails to engage with evidence on the record plainly supporting Commerce’s finding that

saddles are a type of BWPF. See, e.g., Remand Results at 47 n.335 (noting that Petition

identifies that “Butt-weld fittings come in several basic shapes: ‘elbows’, ‘tees’, ‘caps’, and



4
  Notably, here there appears to be some disagreement between Vandewater and SIGMA
that saddles may constitute BWPFs. Vandewater maintains that saddles are not BWPFs,
while SIGMA acknowledges that saddles are BWPFs, but does not agree that any
physical similarities between outlets and saddles reasonably justifies a finding that outlets
share the same physical characteristics as BWPFs. See Vandewater Comments
at 17–18; SIGMA Comments at 7–8.
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 16 of 33




Court No. 18-00199                                                               Page 16


‘reducers’… Illustrations of the various types of butt-weld fittings are attached at

Appendix B,” and that Appendix B includes “an illustration of ‘saddles’ as a type of

BWPF”).     Commerce specifically explained that it disagreed with “Vandewater[’s

assertion] that saddles are not BWPF, and that it was merely coincidence that the image

of a saddle was included among BWPFs in the petition.” Id. (explaining that “[t]he catalog

page in the Petition displays numerous products that are unambiguously BWPFs,

including products shown before and after saddles, e.g., elbows,” and further noting that

“the subsection of the image containing the saddle illustration also contains an image of

a cap, which is clearly an in-scope BWPF.”). In light of the record, the court concludes

that Commerce reasonably identified saddles as a type of BWPF that has physical

characteristics comparable to the subject outlets.

                                   d. Sperko Report

      Plaintiffs also contend that Commerce failed to fully consider the report of Walter

Sperko, President of Sperko Engineering Services, Inc., who provided his expert opinion

in support of Plaintiffs’ position that the subject outlets are not BWPFs. See Vandewater

Comments at 3–9; Remand Results at 27 n.185 (identifying Mr. Sperko). Plaintiffs

maintain that “Commerce’s disregard of the substance and sources relied on in the

Sperko Declaration, except for … two offhand and inaccurate references … show that

Commerce’s conclusion was not based on substantial evidence.” Vandewater Comments

at 9; see also SIGMA Comments at 7 (“the Redetermination contains no meaningful

discussion of the expert report of Walter Sperko, P.E. – to which SIGMA, Vandewater,

and SCI all cited in their comments prior to Commerce’s issuance of the remand.”).
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 17 of 33




Court No. 18-00199                                                                Page 17


Plaintiffs’ arguments, however, do not address other evidence on the record that supports

Commerce’s determination. As Commerce explained:

              Ultimately, the importers ask us to ignore the product catalog
              of Aleum USA and Bonney Forge (the latter of which was
              placed on the record by Vandewater) and to place greater
              weight on the expert affidavit provided in support of
              Vandewater’s scope request and an affidavit placed on the
              record for the purpose of this litigation. We decline to do so,
              and we note that Commerce regularly considers whether
              documents are prepared in the ordinary course of business—
              or prepared specifically for the administrative proceeding—in
              determining the appropriate weight to accord to record
              evidence. Moreover, as discussed elsewhere in these final
              results, we find that portions of the affidavits support our
              conclusion regarding the scope status of Vandewater’s
              outlets.

Remand Results at 85–86. While Plaintiffs criticize Commerce for failing to adopt the

position recommended by Mr. Sperko, the court does not agree that Commerce

“disregarded” or otherwise failed to consider the information in the Sperko report. See

Vandewater Comments at 4 n.2 (arguing that “Commerce addresses the Sperko

Declaration only superficially in footnote 542…”). Rather, it appears that Commerce

repeatedly referenced the Sperko report, highlighting that various aspects of the report

actually supported Commerce’s ultimate findings on the factors. See, e.g., Remand

Results at 49, 86, 88, 91.

       As noted above, Commerce refused to afford dispositive weight to Mr. Sperko’s

views, explaining that the agency would not “place greater weight on the expert affidavit

provided in support of Vandewater’s scope request and an affidavit placed on the record

for the purpose of this litigation” than on the other evidence on the record. Id. at 85–86.
      Case 1:18-cv-00199-LMG Document 168              Filed 09/08/22     Page 18 of 33




Court No. 18-00199                                                                    Page 18


Plaintiffs maintain that Commerce unreasonably failed to credit Mr. Sperko’s affidavit,

despite its preparation in anticipation of litigation, as such a rationale is “inconsistent with

Federal Rule of Evidence 702.” See Vandewater Comments at 4–6. Plaintiffs offer

no explanation, however, for why or how the Federal Rules of Evidence apply to

Commerce’s administrative determinations or its discretionary decision-making in

determining the appropriate weight to accord the evidence on the record. See id. at 5 n.3

(“Although F.R.E. 702 is not binding on the factfinder here (Commerce), the underlying

principles should guide Commerce, and this Court in its role in vetting Commerce’s

fact-finding for substantial evidence.”).    Accordingly, the court sustains Commerce’s

consideration of the Sperko report.

                                   e. Industry Standards

       Vandewater argues that “[t]hroughout the administrative proceeding, Vandewater

has consistently emphasized that a critical difference between outlets and butt-weld pipe

fittings is that outlets meet the MSS-SP-97 industry standard, which is different from the

ANSI/ASME B16.9 specification that governs butt-weld pipe fittings.”              Vandewater

Comments at 18–19. Commerce rejected Plaintiffs’ proposed distinction of outlets from

in-scope BWPFs on the basis of these different industry standards, finding that adopting

Plaintiffs’ position would give “undue significance” to these industry standards. See

Decision Memorandum at 91.            Commerce further noted that “MSS SP-97 is a

‘non-exclusive standard’ and, in fact, several aspects of the standard incorporate by

reference the standards established by ASTM and ANSI/ASME.” Id. at 94. Commerce
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 19 of 33




Court No. 18-00199                                                                 Page 19


emphasized that it found the two standards at issue to “reflect substantial overlap in terms

of attributes, and in turn expectations, for outlets and BWPFs.” Id. at 91.

       Plaintiffs maintain that Commerce’s conclusion that a product could conform to

both ANSI/ASME B16.9 and MSS SP-97 standards “would render those standards

meaningless,” and is therefore unreasonable. See Vandewater Comments at 20; SIGMA

Comments at 3–7 (“Industry standards exist to define distinct products; the idea that a

product could conform to multiple industry standards, thereby re-categorizing that

product, would effectively render those standards meaningless.”). Plaintiffs also highlight

that Commerce has previously relied on distinctions in industry standards for excluding

products from the China BWPFs Order. See SIGMA Comments at 5 (noting that “the

CAFC has affirmed Commerce’s reliance on discrete industry standards in a separate

scope proceeding concerning the exact same order as the one at issue in this appeal”

(citing King Supply Co., LLC v. United States, 674 F.3d 1343 (Fed. Cir. 2012))).

       The court again disagrees. Plaintiffs’ arguments reflect an unwillingness to engage

with Commerce’s uncontradicted finding that the MSS SP-97 is a “non-exclusive

standard” with “substantial overlap” of the ANSI/ASME B16.9 standard. Though Plaintiffs

are correct that Commerce has relied on industry standards as one relevant consideration

in concluding that certain products should be included under the China BWPFs Order,

Plaintiffs ignore the fact that Commerce also found that the merchandise at issue to be

“physically identical to the products described in the first sentence of the [China BWPFs

Order].” See SIGMA Comments at 5 (quoting King Supply Co., LLC, 674 F.3d at 1347).

Additionally, while King Supply supports the proposition that Commerce does consider
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22    Page 20 of 33




Court No. 18-00199                                                                  Page 20


industry standards in reaching its determinations as to the scope of the China BWPFs

Order, it does not support Plaintiffs’ follow-on proposition that products that do not fall

within the industry standards should automatically be excluded from the China BWPFs

Order. See id. at 6 (arguing that “[i]t follows that, where a product is neither physically

identical to the products described in the Order, nor produced according to these industry

standards, it will not fall within the scope of the Order.”). Ultimately, Plaintiffs urge the

court to conclude that Commerce should have reached a different conclusion based on

an inference that the different industry standards serve to establish distinct product

categories.   Commerce refused to draw Plaintiffs’ preferred inference, and instead

determined that the “substantial overlap” in the similarities of those standards did not

support a distinction between the subject outlets and BWPFs. Decision Memorandum

at 91, 94.

       Plaintiffs offer what may well be a reasonable conclusion. This issue presents a

close question. However, for Plaintiffs to establish that Commerce’s analysis of the

physical characteristics of BWPFs and outlets was unreasonable, they must demonstrate

that their preferred outcome was the “one and only reasonable” conclusion Commerce

could reach in light of the record. See Pokarna Engineered Stone Ltd. v. United States,

45 CIT ___, ___ 547 F. Supp. 3d 1300, 1308 (2021) (“A party’s ability to point to an

alternative, reasonable finding on the agency record does not provide a basis for the court

to set aside an agency’s determination.”); see also Mitsubishi Heavy Indus. Ltd. v. United

States, 275 F.3d 1056, 1062 (Fed. Cir. 2001) (“the possibility of drawing two inconsistent

conclusions from the evidence does not prevent an administrative agency’s finding from
      Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22    Page 21 of 33




Court No. 18-00199                                                                   Page 21


being supported by substantial evidence.” (quoting Consolidated Edison, Co. v. NLRB,

305 U.S. 197, 229 (1938)). This Plaintiffs did not do. Accordingly, the court cannot agree

that Commerce unreasonably rejected Plaintiffs’ arguments seeking to distinguish outlets

from BWPFs based on industry standards.

                                 f. HTSUS Subheadings

       Plaintiffs also challenge Commerce’s finding that their outlets and BWPFs have

similar physical characteristics even though their outlets are imported under a separate

HTSUS subheading from BWPFs. See Remand Results at 54. Commerce first noted

that “HTSUS subheadings listed in the scope are not dispositive.” Id. (citing Smith Corona

Corp. v. United States, 915 F.2d 683, 687 (Fed. Cir. 1990), as well as the language of the

China BWPFs Order stating: “Although the {HTSUS} subheadings are provided for

convenience and customs purposes, our written description of the scope of this

proceeding is dispositive”).     Commerce further explained that it did consider this

distinction in HTSUS classifications in its analysis, but ultimately found that “the mere fact

that Vandewater’s outlets are imported under a different subheading within the same

chapter and heading of the HTSUS as the subheading listed in the scope does not

necessarily require Commerce to conclude that the outlets have physical characteristics

that are distinguishable from subject merchandise.” Id. While Commerce acknowledged

that Plaintiffs’ position was supported by a prior Customs Ruling, it determined that

“in light of our broader analysis regarding physical characteristics of in-scope

merchandise – including the characteristics of Vandewater’s outlets in particular – [the]

ruling does not warrant arriving at a different conclusion here.” Id. Plaintiffs maintain that
      Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22    Page 22 of 33




Court No. 18-00199                                                                   Page 22


the HTSUS classifications are “corroborating evidence that confirms” the correctness of

their position that outlets are outside of the scope of the China BWPFs Order. See

Vandewater Comments at 22.           Thus, in Plaintiffs’ view, Commerce unreasonably

“disregard[ed]” the different HTSUS classifications in conducting its (k)(2) analysis. Id.

       Plaintiffs’ argument is not sustainable. Commerce expressly acknowledged that it

considered the relevance of the different HTSUS classifications but concluded that this

distinction was insufficient in light of the totality of the record to support a determination

that “the outlets have physical characteristics that are distinguishable from subject

merchandise.” See Remand Results at 54.            In reaching its conclusion, Commerce

explained that “with respect to physical characteristics, we find that Vandewater’s outlets

are formed or forged, made of carbon steel, have a diameter of less than 14 inches, and

have one butt-welded end with a beveled edge suitable for permanent attachment to a

piping system that conveys gas or liquid. We also find that outlets have a variety of

characteristics in common with other common BWPFs, such as having one butt-welded

end (similar to caps and lap joint stub ends) and also attach to a header pipe via a

butt-weld (similar to saddles).” Remand Results at 89. Thus, given the record, the

physical characteristics factor supports the reasonableness of Commerce’s scope

determination.

                        2. Expectations of Ultimate Purchasers

       Commerce found that “the ultimate purchaser’s expectations regarding the uses

of outlets and other BWPFs are similar.” Remand Results at 55. Specifically, Commerce

observed that “[b]oth outlets and BWPFs are used in fire sprinkler systems (among other
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 23 of 33




Court No. 18-00199                                                                Page 23


types of piping systems), are subject to similar, and in some cases overlapping, industry

standards, and are sold according to standard sizes.”        Id. at 57.   Commerce also

determined that “the record does not reveal that customers would have a significantly

different expectation regarding the installation costs for outlets and BWPFs.” Id. During

the remand, Plaintiffs challenged the reasonableness of these findings, highlighting “four

main expectations of ultimate purchasers that purportedly differ across the products:

(1) compliance with a particular industry standard; (2) custom vs. standard sizing;

(3) whether the product can be used in fire sprinkler systems; and (4) installation costs.”

Id.

      Contrary to Plaintiffs’ argument, Commerce found consistency across the

expectations of ultimate purchasers of outlets and other BWPFs. Specifically, Commerce

noted that “[o]utlets and other BWPFs are, similarly, expected to be welded into

permanent, fixed piping systems for gases or liquids in plumbing, heating, refrigeration,

air conditioning, and fire sprinklers systems.” Id. at 90. Commerce further observed that

“the fact that Vandewater’s outlets have a temporary connection on one end is not a

feature that distinguishes outlets from other in-scope merchandise, and, therefore, does

not change consumer’s expectations regarding the product.” Id. Commerce also rejected

Vandewater’s argument that Commerce should defer to the opinion of Vandewater’s

expert witness, Walter Sperko, “rather than the other sources on the record, such as the

ITC report, to ascertain the expectations of consumers and users.”          Id.   As noted

previously, Commerce refused to afford significant weight to the expert opinion affidavit
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 24 of 33




Court No. 18-00199                                                                Page 24


submitted by Vandewater, explaining that Commerce did not “find that the affidavit

represents more reliable evidence than other record evidence….” Id.

       Plaintiffs now challenge Commerce’s finding that “[o]utlets and other BWPFs are,

similarly, expected to be welded into permanent, fixed piping systems for gases or

liquids,” as unreasonable. See Vandewater Comments at 23 (quoting with emphasis

Remand Results at 90).         In particular, Vandewater contends that the record

“demonstrates conclusively that Vandewater’s outlets are used only for functions in which

its customers do not want and cannot use permanent connections.” Id. Vandewater

further argues that “[t]he reason that outlets are used, and the reason that lower pressure

is necessary, is because the outlets are used for functions such as sprinkler heads, which

must be capable of removal and replacement. Butt-weld pipe fittings cannot be used for

those functions.” Id.

       The court disagrees with Plaintiffs that Commerce’s findings on this factor are

unreasonable.    Commerce concluded that the record did not support Vandewater’s

arguments. Rather, it found that “[a]lthough certain types of BWPFs may be designed to

handle high-pressure systems, fire protection sprinkler systems are a contemplated

application of BWPFs.     This is the intended application for Vandewater’s product.

Therefore, we find that outlets and other BWPFs are, similarly, expected to be welded

into permanent, fixed piping systems for gases or liquids in plumbing, heating,

refrigeration, air conditioning, and fire sprinklers systems.” Remand Results at 56. While

Plaintiffs urged Commerce to focus on the prevalence of BWPFs in high pressure

systems rather than low-pressure sprinkler systems, Commerce highlighted that
      Case 1:18-cv-00199-LMG Document 168               Filed 09/08/22    Page 25 of 33




Court No. 18-00199                                                                     Page 25


“Vandewater itself acknowledges that ‘[s]ome sprinkler systems may, however, use

butt-weld pipe fittings for the run pipes, to which the branch connections are attached.’”

Id. As a result, Commerce reasonably found that Plaintiffs were “simply incorrect that

BWPFs are used exclusively in high-pressure settings, while outlets are used in distinct,

low-pressure piping systems.” Id. at 56.

                                       3. Ultimate Use

       Commerce determined that “the uses of Vandewater’s outlets and other BWPFs

are similar.” Id. at 58. Specifically, Commerce noted that “Vandewater’s outlets are

designed to be permanently welded to a fire sprinkler system, which is a recognized

application for BWPFs subject to the scope of the China BWPFs Order. Furthermore,

even though Vandewater emphasized that its outlets are designed for fire sprinkler

systems, Vandewater acknowledges that other outlets with physical characteristics that

are similar to its outlets are used in a range of applications, including those that the

importers identify as fundamental BWPF uses, e.g., piping connections used in the oil

and gas industry.” Id.

       Plaintiffs challenge Commerce’s finding as unreasonable, highlighting that the

“ultimate purchasers of Vandewater’s steel branch outlets are all fabricators of fire

sprinkler systems.” Vandewater Comments at 24 (further adding that “Commerce does

not (and cannot) deny this fact.”). Plaintiffs maintain that this detail is critical, as “no fire

sprinkler uses any butt-weld pipe fittings for branch connections to sprinkler leads,

because a butt-weld pipe fitting does not have the ability to accept a sprinkler head with

threads.”   Id.   Plaintiffs also emphasize that the ITC “has explained the use and
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 26 of 33




Court No. 18-00199                                                               Page 26


expectation of ultimate users of butt-weld pipe fittings by stating that ‘[b]utt-weld pipe

fittings are used to connect pipe sections where conditions require permanent, welded

connections.’” Id. (citing 2016 ITC Sunset Review at I-4).

       Commerce acknowledged that Vandewater’s outlets are designed for a specific

use within fire sprinkler systems, but found that BWPFs are also used in fire sprinkler

systems and that the minor difference in specific uses within a sprinkler system did not

indicate a significant difference in the ultimate use of subject outlets as compared to

BWPFs. Remand Results at 58–59 (“Such use variation is found throughout the range

of BWPFs”). In disagreeing with Plaintiffs that the ITC’s findings support a distinction

between outlets and BWPFs, Commerce highlighted that the ITC found that BWPFs are

commonly found in automatic fire sprinkler systems.          Despite Plaintiffs’ arguments

emphasizing the different in-system uses of outlets and BWPFs, Commerce determined

that “[e]ven if it is the case that the outlets and other BWPFs do not have identical or

complete overlap of functions, the fact remains that the uses of outlets and other BWPFs

are similar because, as explained above, both are permanently welded into automatic fire

sprinkler systems to change or divide the flow of water.” Id. at 59. Plaintiffs’ argument

demonstrating that the subject outlets may have specific uses within automatic fire

sprinkler systems does not undermine the reasonableness of Commerce’s conclusion

that the ultimate use of BWPFs and subject outlets are similar given that both BWPFs

and subject outlets are used in automatic fire sprinkler systems. Accordingly, the court

concludes that Commerce reasonably found that the ultimate uses of outlets and BWPFs

are similar.
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22   Page 27 of 33




Court No. 18-00199                                                               Page 27


                                 4. Channels of Trade

      Commerce ultimately found that “the channels of trade for outlets and other

BWPFs are similar.” Remand Results at 60. Commerce noted that “both [outlets and

other BWPFs are] sold through distributors and to fabricators and contractors.”        Id.

Plaintiffs challenge Commerce’s conclusion that the record, and in particular the Shyman 5

Declaration, supports a finding that the expectations of purchasers of BWPFs and outlets

are similar based on the fact that both products are sold through distributors like Neill

Supply. See Vandewater Comments at 24 (citing Remand Results at 93–94).

      Once again, the court disagrees. Commerce rejected Vandewater’s argument that

the agency should rely on other parts of the Shyman Declaration, emphasizing

“differences in the ultimate consumer of the products.”         Remand Results at 93.

Commerce noted that it considered the Shyman Declaration, and highlighted that

Mr. Shyman acknowledged that “welded branch outlets and butt-weld fittings are both

sold to distributors like Neill Supply.”   Id. at 93–94.     Vandewater maintains that

Commerce’s simplistic analysis on this issue misses the point and fails to engage with

the record. See Vandewater Comments at 24–25 (noting that “Home Depot sells paint

and flowers, but that says nothing about whether ultimate purchasers deem them to be

the same product.”).




5
  Vandewater submitted this declaration to Commerce as part of its remand comments,
noting that “Mr. Neil Shyman was Vice President and General Manager of Neill Supply
from May 1968 to January 2011. Neill Supply is a fabricator and supplier of fire sprinkler
and industrial piping and sells Vandewater’s steel branch outlets.” See Remand Results
at 27 n.186.
      Case 1:18-cv-00199-LMG Document 168           Filed 09/08/22    Page 28 of 33




Court No. 18-00199                                                                Page 28


       Commerce acknowledged the distinction highlighted by Plaintiffs, but overall found

it unpersuasive in demonstrating that outlets and BWPFs subject to the China BWPFs

Order involve different channels of trade. As Commerce explained:

              We agree that Vandewater’s outlets are typically sold to a
              particular type of contractor given their targeted application,
              when compared to BWPFs more generally – which cover a
              wide range of products and applications. However, this is true
              in any circumstance when comparing a particular product to a
              broad class of products. Outlets and other BWPFs are sold
              to distributors and then to contractors and users involved in
              constructing piping systems, even if the particular type of
              contractor/customer for Vandewater’s outlets focuses on
              certain types of systems, i.e., fire protection and other
              low-pressure applications.

Remand Results at 94. In the court’s view, Plaintiffs’ arguments about the overbreadth

of Commerce’s analysis under this factor go to the weight that the agency should assign

this factor in its overall (k)(2) analysis and not the reasonableness of its determination.

While the court understands that this factor provides limited assistance in comparing

BWPFs and subject outlets, it cannot agree with Plaintiffs that Commerce’s findings under

this factor were unreasonable.

                       5. Manner of Advertisement and Display

       As to the final criterion, Commerce found that “outlets and other BWPFs are

advertised in a similar manner, i.e., via online catalogs in company websites or affiliated

or third-party online sources.” Remand Results at 60–61. Commerce observed that

“[t]hese sources identify the size, weight, and other technical specifications of the

merchandise, including pressure resistance, materials used, and industry standard.” Id.

at 61. Commerce highlighted that “outlets (and similar products, such as saddles) and
      Case 1:18-cv-00199-LMG Document 168               Filed 09/08/22     Page 29 of 33




Court No. 18-00199                                                                     Page 29


BWPFs are displayed side by side. In some instances, outlets are explicitly referenced in

advertising materials as having butt-weld ends.” Remand Results at 94. Commerce

disagreed with Plaintiffs, emphasizing the fact that certain advertising materials for

subject merchandise referenced particular industry standards, and further noting that

“simply   because     the   advertising     materials     reference      particular   standards

(i.e., ANSI/ASME B16.9 for certain products) and or references particular uses,

[Commerce does not agree] that this reflects a clear dividing line between the method of

advertising for each product.” Id. at 95.

       Plaintiffs maintain that Commerce’s analysis sidesteps the critical significance of

industry standards in advertising the products, which “draw a clear dividing line between

butt-weld pipe fittings on one hand and steel branch outlets on the other.” SIGMA

Comments at 13. Plaintiffs argue that Commerce “failed to give this evidence due regard,”

and contend that Commerce’s finding that Plaintiffs’ afforded “undue significance”

to industry standards is unreasonable in light of “repetition and centrality of these

standards in the advertisements.”     Id.   Again, Plaintiffs’ arguments focusing on the

importance of industry standards in advertising ignores contrary evidence in the record,

namely that “the record supports Island’s proffered explanation: [namely, that] the term

‘butt-weld’ itself is not a standard term nor commonly used, and, therefore, Island does

not use it in its advertising.” See Remand Results at 61.

       Plaintiffs also contend that Commerce’s finding that outlets and BWPFs are

“displayed side by side” was unreasonable.        Vandewater Comments at 25 (quoting

Remand Results at 95 & n.577).         Plaintiffs maintain that the sources relied on by
      Case 1:18-cv-00199-LMG Document 168              Filed 09/08/22     Page 30 of 33




Court No. 18-00199                                                                    Page 30


Commerce to support such a finding do not actually include “traditional butt-weld pipe

fittings.” Id. at 26. Plaintiffs’ arguments here again focus on a narrow subset of BWPFs,

discounting the variety of BWPFs covered by the China BWPFs Order that Commerce

found to be advertised in the same product catalogs along with outlets. See Remand

Results at 61 (“First, the ‘Fire Sprinkler Pipe Fabrication’ section of the Aleum USA

catalog shows outlets with a branch side that is threaded or grooved along with ‘butt

welding ends.’ Second, product catalogs on the record show outlets and similar products

and other BWPFs advertised side by side. For instance, the Petition shows ‘elbows,’

‘reducers,’ ‘lap joint stub ends,’ ‘saddles,’ and ‘multiple outlet fittings’ in the same product

catalog; the Shin Tech catalog advertises two outlet products – one with a beveled edge

that allows for a permanent connection only on the branch end, and one with such edges

on both the branch and contoured ends – in a similar manner.”). Given these findings,

the court concludes that Commerce reasonably found that outlets and other BWPFs are

advertised in a similar manner.

                           C. Suspension of Liquidation Instructions

       As a result of Commerce’s new analysis on remand, the parties disputed whether

Commerce was required to revise its instructions to U.S. Customs and Border Protection

regarding suspension of liquidation and cash deposits. See Remand Results at 96–103.

This issue was resolved with respect to Vandewater after the conclusion of briefing on

the merits of the Remand Results. See Letter, ECF No. 151 (seeking clarification about

potential mootness given that existing statutory injunctions already suspend liquidation of

unliquidated entries of subject merchandise dating back to 1992 and requesting additional
      Case 1:18-cv-00199-LMG Document 168            Filed 09/08/22   Page 31 of 33




Court No. 18-00199                                                                 Page 31


information as to this issue); Def.’s Initial Resp. to Letter, ECF No. 152; Conference Call,

ECF No. 157; Def.’s Second Resp. to Letter, ECF No. 159; Second Conference Call, ECF

No. 164; Order Amending Statutory Injunction, ECF No. 166. As to SIGMA, this was not

an issue.

       SCI, though, maintains that this is a live issue. While SCI initially presented

arguments challenging the legal basis for Commerce’s instructions to “continue”

suspension of liquidation, SCI’s arguments appear to have evolved significantly after

conferencing with the court. Specifically, SCI maintains that this issue is not moot

because certain of its entries contain both subject merchandise and non-subject

merchandise (“mixed entries”), and argues that these mixed entries may be

inappropriately subject to duties as a result of Commerce’s instructions as applied to a

suspension of liquidation covering the non-subject merchandise. SCI now attempts to

formally raise these arguments for the first time in the context of “responding” to

Vandewater’s consent motion to amend its statutory injunction. Compare SCI Resp. to

Vandewater’s Mot. for Amended Order for Statutory Injunction, ECF No. 166 (noting that

SCI has no objection to Vandewater’s revision of the statutory injunction covering its

entries, but adding that “SCI files this response to state that it does not agree with the

statement in this motion that the Government should be able to apply antidumping duties

to welded outlets contained in entries ‘that were previously suspended’ for reasons

unrelated to the underlying proceeding at issue in this appeal (i.e., entries that were

previously suspended because they contained unrelated products subject to suspension

pursuant to an unrelated AD/CVD order as of the effective date of Commerce’s scope
      Case 1:18-cv-00199-LMG Document 168             Filed 09/08/22    Page 32 of 33




Court No. 18-00199                                                                   Page 32


determination on Vandewater’s welded outlets (September 10, 2018)).”), with SCI

Comments & Remand Results (discussing parties’ disagreement as to Commerce’s

authority to “continue” suspension of liquidation under the regulatory framework, but

making no reference to particular mixed entries, or any issues involving inappropriately

assessed duties). As noted previously, these arguments regarding “mixed entries” do not

appear in SCI’s remand comments nor do they appear to have been raised before

Commerce in the course of the remand.           See SCI Resp. to Vandewater’s Mot. for

Amended Order for Statutory Injunction, ECF No. 166 (noting that SCI’s arguments in the

response reflect SCI’s arguments “stated during [the August 10, 2022] conference call”).

       Given these circumstances and its discussions with the parties, the court

concludes that SCI’s additional arguments on this issue are not properly before the court

and are deemed forfeited. See United States v. Great Am. Ins. Co., 738 F.3d 1320, 1328

(Fed. Cir. 2013) (“It is well established that arguments that are not appropriately

developed in a party's briefing may be deemed waived.”); Dorbest Ltd, v. United States,

604 F.3d 1363, 1375–77 (Fed. Cir. 2010) (affirming waiver of arguments not raised until

after remand); see also In re Google Tech. Holdings LLC, 980 F.3d 858, 862 (Fed. Cir.

2020) (explaining the distinction between “forfeiture” and “waiver” and acknowledging that

“[b]y and large, in reviewing this court's precedent, it is evident that the court mainly uses

the term ‘waiver’ when applying the doctrine of ‘forfeiture.’”); Saha Thai Steel Pipe Pub.

Co. v. United States, 46 CIT ___, Slip Op. 22-99, 2022 WL 3681263 at *4 (Aug. 25, 2022)

(exploring precedent addressing forfeiture and waiver, and explaining that “[f]ailing to

raise an argument in a previous proceeding thus forfeits the argument after the matter
         Case 1:18-cv-00199-LMG Document 168          Filed 09/08/22   Page 33 of 33




Court No. 18-00199                                                                 Page 33


has been remanded and is back on appeal.”). The court also notes that SCI’s additional

arguments on this issue may well be moot in light of the existing statutory injunction that

enjoins liquidation of SCI’s imports of unliquidated entries of subject merchandise dating

back to July 6, 1992.        See Order Entering Form 24 Statutory Injunction, Court

No. 19-00011, ECF No. 17 (Jan. 28, 2019).

                                          III. Conclusion

         Despite their arguments supporting an alternative reasonable conclusion, Plaintiffs

have failed to demonstrate that the record supports Plaintiffs’ preferred outcome as the

one and only reasonable determination Commerce could have made. See, e.g., supra

p. 20.    Although Plaintiffs have demonstrated that information on the record could

reasonably support a finding that outlets are excluded from the scope of the China BWPFs

Order, the court cannot agree that Commerce acted unreasonably in reaching its findings

to the contrary under each of the (k)(2) factors. The court therefore sustains Commerce’s

determination that outlets and other BWPFs are sufficiently similar such that the subject

outlets should be included under the scope of the China BWPFs Order. Judgment will

enter accordingly.



                                                                 /s/ Leo M. Gordon
                                                              Judge Leo M. Gordon




Dated: September 8, 2022
       New York, New York
